         Case 7:22-cv-00046-DC Document 18-1 Filed 03/18/22 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                            MIDLAND-ODESSA DIVISION

MICHAEL DEAN GONZALES,              §
    Plaintiffs,                     §
                                    §
v.                                  § CIVIL ACTION NO. 7:22-CV-046
                                    §
WOODSON ERICH DRYDEN, et al.,       §
      Defendants.                   §
______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

       This day the Court considered Defendant Steven McCraw’s agreed motion to extend his

deadline for responsive pleadings. The motion is reasonable and is hereby GRANTED. Defendant

shall file responsive pleadings on or before May 2, 2022.



              SIGNED this _____ day of _______________________, 20____.


                              _______________________________
                                    PRESIDING JUDGE
